        Case 7:20-cr-00414-VB Document 27 Filed 10/16/20 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                    -X


 UNITED STATES OF AMERICA,

                       -against-


                                                              7:20-cr-414-VB
Lonnie Avant
                       Defendant(s).
                                                    -X


Defendant Lonnie Avant hereby voluntarily consents to participate in the following proceeding
via E! videoconferencing or IZI teleconferencing:


D Initial Appearance Before a Judicial Officer

D Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
      Indictment Form)


D Guilty Plea/Change of Plea Hearing

Kl Bail/Detention Hearing

Q Conference Before a Judicial Officer - Assignment of Counsel




        ^^y^/^
Defendant's Signa&re                                De^ndant's Ca^S^eVs Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

           'e /W47^r                                  ^/^/hu^ L/^///c^_
                                                                           ^
Print Defendant's Name                              Print Counsel's Name



This proceeding was conducted by reliable vyleOor telephon^/ciX(fer^ei^teclinology



Date                                                        net Judg^U.S. Magistrate Judge
